Case No. 1:21-cv-00876-PAB-STV Document 34 filed 02/22/22 USDC Colorado pg 1 of 4




                          IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF COLORADO

  Civil Action No. _21-cv-00876-PAB-KMT_____

  Kevin Taylor                                                                       FILED
                                                                          UNITED STATES DISTRICT COURT
   Plaintiff.                                                                  DENVER, COLORADO
                                                                                   10:14 am, Feb 22, 2022

  v.                                                                       JEFFREY P. COLWELL, CLERK


  United States of America

   Defendant(s).

                             REBUTTAL/OBJECTION TO DECISION

  I’ve tried and tried to do everything I could do to evoke some kind of justice. Do with this as you

  wish. I don’t know how to write a rebuttal just like I haven’t known how to write anything else

  for the court. I’ve put in my effort only to be dismissed and gaslighted. Everyone in the VA

  knows that they are untouchable and that they dictate matters. I didn’t want money, I wanted

  accountability. I wanted to have a sit down where they could help with what’s been done to me

  and find solutions, to at least make an effort. Nothing can be done to them and I couldn’t even

  get an apology or efforts of concern for the hell they have created for me. There is no remorse for

  any of what they’ve done and continue to do to me. Now the justice system has again failed me.

  A team of lawyers against one stupid Vet with little to no consideration of the prejudice between

  and disadvantage of having to face a seemingly god-like entity alone.



  The VA has gotten away with stripping me completely naked, parading me in front of other

  veterans, and a sexual assault that was physically brutal and happened on video surveillance

  intentionally lied about, hidden, then destroyed. They’ve gotten away with holding me captive
Case No. 1:21-cv-00876-PAB-STV Document 34 filed 02/22/22 USDC Colorado pg 2 of 4




  for hours without just cause. They got away with erroneously putting me on a certification hold

  where I wasn’t given my right to appeal at any time for 30 days. They’re getting away with

  humiliating me beyond measure by the already identified nurse, injuring my body irreparably,

  leaving me unable to function as a normal man and jeopardizing any relationship I ever have. It

  is documented to be for life by a medical professional who directly tied it to the medication I was

  forced to stay on for 3mo. He offered that a simple online search for post-SSRI sexual

  dysfunction has readily available scientific research to support. In any case, I begged to get off

  the medication. To do it on my own has risks that I’ve experienced before having stopped a

  medication without guidance in the past. Defense argued different doc, different time doesn’t

  speak to reality. I was never given informed consent to even make a judgement for myself and

  my complaints ignored even though there was absolutely no efficacy and the basic knowledge

  that if there are unwanted or unbearable side effects that you go back to have the medication

  adjusted, add, or change the medication at the request of the patient, common knowledge

  attached in writing to every prescription in the US. Even over the counter medication has

  warnings required by law that give direction on what to do in case of emergency or harmful

  reactions, including to see a doctor if there are harmful side effects.



  They’re getting away with harassing me extensively, and yeah there was physical threat to my

  person numerous times. They’re getting away with sending me to court over a lie, threatening me

  with a year in federal prison and a $10,000 fine, that I had dismissed, only to still be treated the

  last 4 ½ yrs like a violent criminal. They’re getting away with tampering with my medical

  records constantly, leaving me in excruciating pain and immobilized, delaying my access to

  healthcare, taking away my access to healthcare to include going without my mental health
Case No. 1:21-cv-00876-PAB-STV Document 34 filed 02/22/22 USDC Colorado pg 3 of 4




  provider for months, medication for days, creating gaps between authorizations for pain

  management, my physician, physical and mental health therapy, interrupting continuity of care…

  and they care about my mental health, my physical wellbeing?



  I provided the court names and license numbers of people involved and it was rejected by the

  court. I have proof of what all has been done to harm me mentally and physically and that it was

  intentional and the court didn’t care for none of it. Just a sample of the initial bias is how the

  court and defense set a requirement for something not afforded to a private citizen. Like I stated,

  FACT: there is no mention of a “certificate of review”. in the guide to do a tort claim. FACT:

  there is no explanation of what a “certificate of review” is, what to do to get it, or directions.

  FACT: there is no form on the court’s website under “forms” or anywhere else I looked online.

  So, the court requires something that essentially don’t exist for a private citizen, yet state that the

  absence is vital to proceeding. “You should have a lawyer because….”, well I wasn’t afforded a

  lawyer for reasons beyond my ability to pay. Lawyers seemingly only go after the VA for deaths

  and missing limbs or whatever.



  Nobody cares about a veteran or listens until they’re dead from it. So, the last resort is suicide.

  IF, understand I say IF, the VA continues screwing with me and my life, I’m done. There is only

  so much a person can go through before they end up killing themselves. I’ve done everything not

  to and nobody has cared. I have enough other things I’ve suffered in life only to have the entity

  that’s supposed to be my main resource treat me like I’m absolutely nothing. Now having

  become a kill-switch. I go down, they go down, especially those whom I have identified (no, I

  AM NOT hinting at homicide, I’m talking the end of their careers and wrongful death suits for
Case No. 1:21-cv-00876-PAB-STV Document 34 filed 02/22/22 USDC Colorado pg 4 of 4




  their participation in pushing me to suicide). Again IF, IF I should go through with suicide at

  whatever point the VA drives me to it, all of the names, all the evidence, all of what the VA has

  done to me, all of the pictures of injuries inflicted by VA employees, all of the records that have

  been tampered with, all of the records of me attempting to have something done and get help.

  My trying to speak to the local VA’s administration, going to the congressman, the White House

  hotline, the OIG, the General Counsel, the Regional Counsel, the VA’s VISN 19, the Under

  Secretary of the VA’s office, the Secretary of the VA’s office, the courts, and whatever other

  entity I’ve attempted to go through. All of it will be delivered directly to media across the US in

  the wake of my death through friends and other means. This “plan” is known by those in the VA.

  They don’t take it seriously and won’t until it happens. Ask anyone, I’m not another Vet that’s

  going to leave a simple suicide note to be censored from the public. I’m not going to be another

  Veteran whom the VA says they “tried to help” and that they “need to do better” and that they

  make some oath to develop a program for “better prevention” that never comes to fruition.



  None of this is a threat, it’s a statement concerning current matters as they are. IF nothing ever

  changes, I’m just simply done. It’s on the VA as to how much they want to continue harming me

  to get to their goal of having another Veteran gone. The VA IS the direct cause of too many Vets

  killing themselves. I’m doing everything I can to not be one of the 22, but everyone has a

  breaking point. You would too.


  February 17, 2022                                                     Respectfully submitted,
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